Case 1:98-cV-01263-.]DB-STA Document 156 Filed 05/10/05 Page 1 of 4 Page|D 116

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

JAMIE HAMILTON, and Wife,
BONNIE HAMILTON

Plaintiffs,

VS. NO. 1-97-1261-B

GARY MYERS, as Executive Director
of the Tennessee Wildlife Resources

 

Ageocy, et al, 3 3__;_"'
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f`£¢ '1:
Defendants. _‘_“_ §§

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GARY ARNETT, SHELLY ARNETT, m g
N _ _

and JOHN PAUL ARNETT, by next
friend, GARY ARNETT,

Plaintiffs,

VS. NO. 1-98-1263-B

 

GARY MYERS, as Executive Director
of the Tennessee Wildlife Resources
Agency, et al.,

Defendants.

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m ORDER GRANTING LEAVE TO FILE REPLY BRIEF

 

This matter came to be heard before the Court on the ZOZ! day of m/?M[

2005, wherein the Court finds that the Defendant’s Motion is well-taken,

This document entered on the docket eheetl compliance
with Rule 58 and,'or.?Q (a) FRCP on ._$_/_?_LLQ§_

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IT IS, THEREBY, ORDER_ED that the Defendants are granted leave of Court to tile a Reply
Brief to the Plaintiffs’ Responses to Defenda;nts’ Motion for an Order Compelling the Joinder of a
Necessary Party within ten (10) days from the entry of this Order.

ENTERthisthe /o”day of /}/].4¢.,, ,2005.

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APPROVED FOR ENTRY:
SPRAGINS, B T OB BUTLER, P
By:

 

CHARLES H. BAKNE‘TT #8721
CLINTON H. SCOTT #23008

Attorney for Defendants

P.O. Box 2004, 312 East Lafayette Street
Jackson, TN 38302

(731) 424-0461

Case 1:98-cV-01263-.]DB-STA Document 156 Filed O5/10/O5 Page 3 of 4 Page|D 118

CERTIFICATE OF SERVICE

The undersigned certifies that at true copy of the foregoing has been served on:

Mr. Robert M. Fargarson Mr. Glen G. Reid
65 Union Ave., 9th Floor Wyatt, Tarrant & Cornbs
P. O. Drawer 3543 P.O. Box 775000
Memphis, TN 38173-0543 Memphis, TN 38177-5000
Ms. Gale Norton, Secretary of lnterior Mr. Alberto R. Gonza]ez, Attorney General
U. S. Department of lnterior U. S. Department of Justice
1849 C Street, N.W. 950 Pennsylvania Avenue
Mail Stop: 7229 MIB Room B-103
Washington, D.C. 20240-0001 Washington, D.C. 20530-0001
Mr. John Harrington Mr. Terrell L. Harris
Regional So]icitor’s Oftice U.S. Departrnent of Justice
U. S. Department of lnterior 800 Clifford David Federal Building
75 Spring Street, SW, Suite 304 167 N Main Street
Atla.nta, GA 30303 Mernphis, TN 38103
by d iting the same in the United States Mail, p : . ~ - ¢ ' . . - . ove, on the

  

ay of May, 2005.

     

UNITE`DSTATES DISTRICT OURT WESTE"DTRISRICOF TNNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 156 in
case 1:98-CV-01263 Was distributed by faX, mail, or direct printing on
May ]1, 2005 to the parties listed.

 

 

Charles H. Barnett

SPRAGINS BARNETT COBB & BUTLER
P.O. BOX 2004

Jackson7 TN 38302--200

Robert M. Fargarson

NEELY GREEN FARGARSON BROOKE & SUl\/[MERS
65 Union Ave.

Ste. 900

Memphis7 TN 38103--054

Sara Barnett

SPRAGINS BARNETT COBB & BUTLER
P.O. BOX 2004

Jackson7 TN 38302--200

Charles H. Barnett

SPRAGINS BARNETT COBB & BUTLER
P.O. BOX 2004

Jackson7 TN 38302--200

Sara Barnett

SPRAGINS BARNETT COBB & BUTLER
P.O. BOX 2004

Jackson7 TN 38302--200

Robert M. Fargarson

NEELY GREEN FARGARSON BROOKE & SUl\/[MERS
65 Union Ave.

Ste. 900

Memphis7 TN 38103--054

Honorable J. Breen
US DISTRICT COURT

